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  6   Attorneys for KAREN GOWINS and Many Wildfire Victim Creditors

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  8                               UNITED STATES BANKRUPTCY COURT
  9                               NORTHERN DISTRICT OF CALIFORNIA
 10
                                         SAN FRANCISCO DIVISION
 11

 12    In re:                                            )
                                                         )   Case No. 19-30088 (DM)
 13    PG&E CORPORATION                                  )   Chapter 11
                                                         )   (Lead Case)
 14    -and-                                                 (Jointly Administered)
                                                         )
 15    PACIFIC GAS AND ELECTRIC                          )   DECLARATION OF BONNIE E. KANE
       COMPANY                                           )   IN SUPPORT OF MOTION FOR
 16               Debtors.                               )   APPOINTMENT OF AN EXAMINER OF
                                                         )   VOTING PROCEDURAL
 17      Affects PG&E Corporation                        )   IRREGULARITIES PURSUANT TO
                                                         )   SECTION 1104 (c) OF THE
 18      Affects Pacific Gas & Electric                      BANKRUPTCY CODE AND
                                                         )   BANKRUPTCY RULE 2007.1
 19      Affects Both Debtors                            )
                                                         )   Date: June 4, 2020
 20    All papers shall be filed in the Lead Case,       )   Time: 9:30 a.m. (Pacific Time)
       No.19-30088 (DM)                                  )   Place: By Video
 21    ____________________________________                         United States Bankruptcy Court
                                                         )
                                                                    Courtroom 17, 16th Floor
 22                                                                 San Francisco, CA 94102
                                                             Objection Deadline: June 2, 2020
 23
                I, Bonnie E. Kane, hereby declare under penalty of perjury that the following is true and
 24
      correct to the best of my knowledge, information and belief.
 25

 26             1.   I am a partner in the Kane Law Firm, counsel to Creditor Karen Gowins and Many

 27   Fire Victim Creditors in the above referenced matter.
 28  ______________________________________________________________________________________________
      DECLARATION OF BONNIE E. KANE IN SUPPORT OF MOTION FOR APPOINTMENT OF AN EXAMINER
      OF VOTING PROCEDURAL IRREGULARITIES PURSUANT TO SECTION 1104 (c) OF THE BANKRUPTCY
                                  CODE AND BANKRUPTCY RULE 2007.1
Case: 19-30088 Doc# 7568-1 Filed: 05/25/20 Entered: 05/25/20USBC/NDCA    15:14:36 No.Page   1 (DM)
                                                                                       19-30088
                                                of 2
  1      2.    Exhibits A – D are true and correct copies of Facebook pages from a Wildfire Victim

  2   forum.
  3
         3. Exhibits E – J to this Motion are true and correct copies of documents whih I downloaded
  4
      directly from the official docket of this case, using the Pacer system.
  5
               I declare under penalty of perjury under the laws of the State of California and the United
  6
      States that the foregoing is true and correct. Executed on May 25, 2020, at San Diego County,
  7

  8   California.

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 10                                                  /s/ Bonnie E. Kane_______________________
 11                                                  BONNIE E. KANE

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                                                         2
 28   ______________________________________________________________________________________________
      DECLARATION OF BONNIE E. KANE IN SUPPORT OF MOTION FOR APPOINTMENT OF AN EXAMINER
      OF VOTING PROCEDURAL IRREGULARITIES PURSUANT TO SECTION 1104 (c) OF THE BANKRUPTCY
      CODE AND BANKRUPTCY RULE 2007.1
Case: 19-30088       Doc# 7568-1      Filed: 05/25/20     Entered: 05/25/20 15:14:36       Page 2
                                               of 2                         USBE/NDCA No. 19-30088 (DM)
